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                                                                    EXHIBIT 13




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                                                                                                                                                                                                                                                  alaric stone



Counseling Follow-up
Stone, Alaric B LTJG USCG (USA                                                                                                                                                                                                                               Fri, Jul 22, 2022 at 11 53 AM




 From Bazemore, Lamont S CAPT USCG D5 (USA)
 Sent Friday, July 22, 2022 11:38 AM
 To Stone, Alaric B LTJG USCG (USA) <
 Cc Nash, Terdell A LCDR USCG LANTAREA (USA)                                         Dove, Brian L CWO-2 USCG D5 (USA)
 Subject RE: Counseling Follow-up



 Alaric,



 Thanks for sharing the article. I’m not an expert, but I think it would be a challenge to find any modern vaccine that hasn’t used some form of fetal cells for testing. Researchers aren’t allowed to test on human subjects until much later in the testing phase.



 I followed up with the Chief of Staff (CoS) and Legal (LCDR Lee) this morning regarding any additional process steps to appeal your religious accommodation appeal denial.



 Neither the CoS or LCDR Lee are aware of any additional steps. I also provided the CoS with a copy of your CG-3307. You can pursue the BCMR process, but that will not prevent the CG from taking steps to separate you from the service. LCDR Lee passed that the CG’s
 COVID Vaccination Accommodation & Appeal process is the most robust of any military service. Considering all documentation and action executed has been in alignment with CG policy, in the absence of a policy or law change, I don’t foresee your BCMR being successful
 expunging COVID related CG-3307s from your record. Because your potential separation will be based on you not being worldwide deployable, a BCMR will not address that issue.



 CoS mentioned that another COVID ALCOAST will to be released soon. t’s expected that as a result of the CG Commandant changing, the CG’s position will shift from non-compliant COVID vaccinated personnel being loss via natural attrition to the CG taking a more
 proactive stance removing non-vaccinated members from the service.



 I know you have much to contemplate over the next week.



 Respectfully,



 CAPT Lamont S. Bazemore, PMP

 USCG Fifth District

 Chief, Planning & Force Readiness

 XO of Military Personnel

 CO of Enlisted Personnel




 From Stone, Alaric B LTJG USCG (USA)
 Sent Friday, July 22, 2022 9:07 AM
 To Bazemore, Lamont S CAPT USCG D5



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Cc Nash, Terdell A LCDR USCG LANTAREA (USA         Case 4:22-cv-00825-P Document 6-1 Filed 09/16/22                                                                         Page 47 of 84 PageID 549
Subject Counseling Follow-up



Good morning CAPT Bazemore,



Thank you again for your time yesterday.



I am emailing to follow up on our discussion, specifically regarding the Novavax vaccine. There was some conflicting information that came up during the counseling session; at the outset of the counseling you stated that the Novavax vaccine was recently given EUA status
and did not make use of aborted fetal cell material in its testing or production. As I discussed yesterday, this is at odds with the information I have found in the course of my research.



I’ve attached a study documenting testing performed by Novavax as part of the development of their COV D-19 vaccine. The study states that the HEK-293 line of aborted fetal cells was used in testing of the vaccine. Unfortunately, as I stated yesterday, this means that
aborted fetal cell material was used to develop the Novavax vaccine (similar to the other vaccine candidates currently available).



This is one of several documents I came across when conducting my initial research into the issue; I hope it’s helpful in providing context for our discussion yesterday.



Very respectfully,

LTJG Alaric Stone

D5 DRI




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R 211135Z JUL 22 MID200080045805U
FM COMDT COGARD WASHINGTON DC                                                          EXHIBIT 18
TO ALCOAST
BT
UNCLAS
ALCOAST 267/22
SSIC 6110
SUBJ: HIV POLICY UPDATES
A. Coast Guard Human Immunodeficiency Virus (HIV) Program,
COMDTINST M6230.9A
B. DOD memo, 6 JUN 2022: Policy Regarding Human Immunodeficiency
Virus-Positive Personnel within the Armed Forces
1. This ALCOAST is an update to REF (A) and contains several USCG
policy modifications for HIV positive service members IAW the
guidance published in REF (B).
2. REF (B) states that in view of significant advances in the
diagnosis, treatment and prevention of HIV, it is necessary to
update policy with respect to individuals who have been identified
as HIV-positive. REF (B) states current service members who have
been identified as HIV-positive, are asymptomatic, and who have
clinically confirmed undetectable viral load (hereinafter "covered
personnel"), will have no restrictions applied to their
deployability or to their ability to commission while a service
member, solely on the basis of their HIV-positive status.
This supersedes any restrictions currently in Chapter 1 of REF (A)
for covered personnel, which includes Coast Guard Academy cadets and
midshipmen, ROTC cadets and midshipmen, and other participants in
in-service commissioning program. Covered personnel will not be
deemed "non-deployable" solely for the reason that they are
HIV-positive. Decisions on the deployability of covered personnel
will be made on a case-by-case basis and must be justified by the
Service member's inability to perform the duties to which he or she
would be assigned.
3. POC: CAPT Shane C. Steiner (Chief, Operational Medicine,
COMDT (CG-1121),                                        .
4. RADM Dana L. Thomas, Director of Health, Safety and
Work-Life (CG-11), sends.
5. Internet release is authorized.




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https://cg.portal.uscg.mil/library/generalmessages/General%20Messages/GENMSG2022/...     7/27/2022
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                               SECRETARY OF DEFENSE
                               1000 DEFENSE PENTAGON
                              WASHINGTON , DC 20301 - 1000                              EXHIBIT 20


                                                                     AUG 24 2021
MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
               COMMANDERS OF THE CO MBATANT COMMANDS
               DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

SUBJECT: Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense
         Service Members

       To defend this Nation, we need a healthy and ready force. After careful consultation with
medical experts and military leadership, and with the support of the President, I have determined
that mandatory vaccination against coronavirus disease 2019 (COVID-19) is necessary to protect
the Force and defend the American people.

       Mandatory vaccinations are familiar to all of our Service members, and mission-critical
inoculation is almost as old as the U.S. military itself. Our administration of safe, effective
COVID-19 vaccines has produced admirable results to date, and I know the Department of
Defense will come together to finish the job, with urgency, professionalism, and compassion.

       I therefore direct the Secretaries of the Military Departments to immediately begin full
vaccination of all members of the Armed Forces under DoD authority on active duty or in the
Ready Reserve, including the National Guard, who are not full y vaccinated against COVID-19.

       Service members are considered fully vaccinated two weeks after completing the second
dose of a two-dose CO VID-19 vaccine or two weeks after receiving a single dose of a one-dose
vaccine. Those with previous COVID-19 infection are not considered fully vaccinated.

          Mandatory vaccination against COVID-19 will only use COVID-19 vaccines that receive
full licensure from the Food and Drug Administration (FDA), in accordance with FDA-approved
labeling and guidance. Service members voluntarily immunized with a COVID-19 vaccine
under FDA Emergency Use Authorization or World Health Organization Emergency Use Listing
in accordance with applicable dose requirements prior to, or after, the establishment of this
policy are considered fully vaccinated. Service members who are actively participating in
COVID-19 clinical trials are exempted from mandatory vaccination against COVID-19 until the
trial is complete in order to avoid invalidating such clinical trial results.

        Mandatory vaccination requirements will be implemented consistent with DoD
Instruction 6205.02, "DoD Immunization Program," July 23, 2019. The Military Departments
should use existing policies and procedures to manage mandatory vaccination of Service
members to the extent practicable. Mandatory vaccination of Service members will be subject to
any identified contraindications and any administrative or other exemptions established in
Military Department policy. The Military Departments may promulgate appropriate guidance to
carry out the requirements set out above. The Under Secretary of Defense for Personnel and




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Readiness may provide additional guidance to implement and comply with FDA requirements or
Centers for Disease Control and Prevention recommendations.

        The Secretaries of the Military Departments should impose ambitious timelines for
implementation. Military Departments will report regularly on vaccination completion using
established systems for other mandatory vaccine reporting.

       Our vaccination of the Force will save lives. Thank you for your focus on this critical
mission.




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8/30/2021                https://cg.portal.uscg.mil/library/generalmessages/General Messages/GENMSG2021/ALCOAST/305-21_ALCOAST.txt
             Case 4:22-cv-00825-P Document 6-1 Filed 09/16/22                            Page 58 of 84 PageID 560
  R 262212Z AUG 21
  FM COMDT COGARD WASHINGTON DC
  TO ALCOAST
  BT                                                                                                                EXHIBIT 21
  UNCLAS FOUO
  ALCOAST 305/21
  SSIC 6230
  SUBJ: COVID 19: MANDATING COVID 19 VACCINATION FOR
  MILITARY MEMBERS
  A. SECDEF MEMO DTD 24 AUG 21: Memorandum for Senior Pentagon
  Leadership, Commanders of the Combatant Commands, and Defense
  Agency and DoD Field Activity Directors
  B. DoD Immunization Program, DoDI 6205.02, DTD 23 JUL 19
  C. Immunizations and Chemoprophylaxis, COMDTINST M6230.4 (series)
  1. In REF (A) the Secretary of Defense determined that mandating the
  vaccine against Coronavirus Disease 2019 (COVID 19) for Service
  members is necessary to protect the military and defend the American
  people. The Secretary of Defense directed the Secretaries of the
  Military Departments to immediately begin full vaccination of all
  active duty or Ready Reserve members of the Armed Forces, under
  Department of Defense (DoD) authority, who are not fully vaccinated
  against COVID-19. The Secretary of Defense directed that only
  vaccines that have received full licensure from the Food and Drug
  Administration (FDA) be used for mandatory vaccination. He also
  directed that vaccination requirements be implemented consistent
  with REF (B) and that the Military Departments use existing policies
  and procedures, to the extent practicable, to manage mandatory
  vaccination of Service members.
  2. REF (B) applies to the Coast Guard at all times by agreement with
  the Department of Homeland Security, and REF (C) is a joint
  directive that also applies to the Coast Guard.
  3. REF (C) will be updated to reflect the Secretary of Defense's
  direction. Consistent with the Secretary of Defense's direction, all
  Coast Guard active duty and Ready Reserve members who are not fully
  vaccinated, unless they are granted an exemption or accommodation,
  are required to receive the Pfizer BioNTech COVID 19 vaccine as an
  initial series, and subsequently as indicated, to comply with
  recommended vaccine schedules necessary to achieve full vaccination
  against COVID-19. The Pfizer-BioNTech COVID-19 was granted license
  by the Food and Drug Administration (FDA) on 23 Aug 2021.
  4. Currently, Service members who have already received all required
  doses of an FDA licensed vaccine, a vaccine administered under the
  FDA's Emergency Use Authorization (EUA), or a vaccine on the World
  Health Organization Emergency Use Listing are considered fully
  vaccinated two weeks after the last required dose. Service members
  who voluntarily receive any of those vaccines after the
  establishment of this policy will also be considered fully
  vaccinated after having met the vaccine manufacturer's dosing and
  timing requirements. Those with previous COVID-19 infection are not
  considered fully vaccinated. Service members who are currently
  enrolled and actively participating in a COVID-19 clinical trial are
  exempt from mandatory vaccination until the trial is complete to
  avoid invalidating such clinical trial results. Vaccines are readily
  available at Coast Guard clinics, military treatment facilities,
  and civilian healthcare providers.
  5. Further implementation guidance on mandatory vaccination is
  forthcoming.
  6. A fully vaccinated Service will save lives, and we will move
  ambitiously to fully vaccinate our Service members. Consistent with
  the Secretary of Defense's guidance, my intention is to use, to the
  extent practicable, existing policies and procedures to manage the
  mandatory vaccination of our Service members. We will ensure the
  expeditious promulgation of policies and procedures where existing
  guidance is insufficient or incomplete.
https://cg.portal.uscg.mil/l brary/generalmessages/General Messages/GENMSG2021/ALCOAST/305-21_ALCOAST.txt                            1/2
                                                                                                                           141
8/30/2021                https://cg.portal.uscg.mil/library/generalmessages/General Messages/GENMSG2021/ALCOAST/305-21_ALCOAST.txt
          Case Officers
  7. Commanding 4:22-cv-00825-P    Document
                         shall ensure that all6-1  Filedmembers
                                               Service   09/16/22
                                                                are Page 59 of 84 PageID 561
  aware of this message and made available and scheduled for
  vaccination in coordination with servicing medical personnel.
  Commanding Officers and leaders shall not commence administrative
  or disciplinary action based solely on a Service member's decision
  to decline vaccination until such implementing guidance is
  promulgated.
  8. POC: CDR S.E. Russell, CVIC Incident Commander,             ,
  COVID19@uscg.mil.
  9. ADM K. L. Schultz, Commandant (CCG), sends.
  10. Internet release is not authorized.




https://cg.portal.uscg.mil/l brary/generalmessages/General Messages/GENMSG2021/ALCOAST/305-21_ALCOAST.txt                            2/2
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R 072247Z SEP 21
FM COMDT COGARD WASHINGTON DC                                                          EXHIBIT 22
TO ALCOAST
BT
UNCLAS
ALCOAST 315/21
SSIC 6230
SUBJ: COVID-19: MANDATING COVID-19 VACCINATION FOR
MILITARY MEMBERS: UPDATE 1
A. COMDT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
B. Coast Guard Medical Manual, COMDTINST M6000.1 (series)
C. Military Religious Accommodation, COMDTINST 1000.15 (series)
D. Immunization and Chemoprophylaxis for the Prevention of
Infectious Diseases, COMDTINST M6230.4 (series)
1. The Coast Guard has been and continues to focus on mission
and personnel readiness amid the ongoing COVID-19 pandemic.
COVID-19 has negatively impacted both for over 18 months. Data and
modeling also indicate that available vaccines are effective
against severe illness and mortality caused by COVID-19. A fully
vaccinated military force saves lives, protects those we serve
alongside and our loved ones, and ensures our readiness. Commanders,
Commanding Officers, and Officers in Charge shall lead by example,
and act with a sense of urgency to meet this intent as soon as
operations allow, starting immediately.
2. Commanders, Commanding Officers, and Officers in Charge shall
direct unvaccinated active duty and ready reserve members to
initiate the COVID-19 vaccination regimen immediately, and in doing
so shall ensure members are scheduled and made available to receive
the vaccine. Active duty and ready reserve members without approved
exemptions shall get fully vaccinated against COVID-19. Counseling
of unvaccinated members on this requirement, the timeline for
vaccination, and the process to request medical exemption or
religious accommodation shall be documented through Administrative
Remarks Form, CG-3307. Commanders, Commanding Officers and Officers
in Charge shall only use the template provided. The standard
administrative remarks template for this counseling is available at
the COVID Community of Practice Portal Page:
(Copy and Paste URL Below into Browser)

https://cg.portal.uscg.mil/units/cgcpe2/Pages/HomeCOP.aspx?View=%7
B4724ff56-43ee-4941-beaf-5af3500e88f4%7D

3. Given the need to safeguard the workforce, and maintain
readiness, the Coast Guard will determine additional measures
necessary to mitigate health risks to members of the Service and
our communities posed by those who are not yet vaccinated. These
measures may include additional restrictions on official travel,
liberty, and leave, as well as cancellation of "A" and "C" school
orders. Further guidance regarding these measures will be provided
separately.
4. All members shall be provided any vaccine that has received Food
and Drug Administration (FDA) licensure. Currently, the
Pfizer-BioNTech COVID-19 vaccine meets this requirement. Members
may also choose to receive any COVID-19 vaccine that is fully
approved by the FDA, administered under the FDA's Emergency Use
Authorization (EUA), or a vaccine on the World Health Organization
Emergency Use Listing. Additional quantities of vaccine are being
delivered to Coast Guard clinics to accelerate vaccination of the
entire workforce and are available for any active duty or ready
reserve member. This message does not change the existing authority



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for Coast Guard clinics to vaccinate Coast Guard civilian employees,
contractors, or Coast Guard dependent family members who voluntarily
seek vaccination.
5. All military personnel may voluntarily get vaccinated outside of
a Coast Guard clinic in accordance with REF (A), but must meet the
timeline prescribed by their Commanders, Commanding Officers, and
Officers in Charge. Personnel who have TRICARE may receive their
vaccination from their Primary Care Provider or from a civilian
pharmacy that accepts TRICARE. There is no charge for the vaccine at
pharmacies in the Tricare network. A list of CG clinics supporting
all units in the CG is available at:
(Copy and Paste URL Below into Browser)

https://www.reserve.uscg.mil/Portals/2/Documents/PDF/HSWL_HRC_list
_SELRES%232.pdf?ver=2018-08-17-135417-933

The COVID vaccine is federally funded and may also be available free
of charge through state and local health departments.
6. Members shall request and retain the hard copy immunization
record from the vaccination clinic site. Those members who get
vaccinated outside of a Coast Guard clinic shall provide the
following information to their cognizant Coast Guard clinic:
(1) date the vaccine was administered, (2) the vaccine name or code,
(3) the manufacturer and lot number, (4) the dose administered, and
(5) clinic site. Providing false vaccination information is a
violation of Article 107, UCMJ and may also result in administrative
and/or disciplinary action.
7. This message constitutes a lawful general order. Failure to
comply with any of its provisions is a failure to obey a lawful
order punishable under Article 92 of the Uniform Code of Military
Justice (UCMJ). It may result in punitive and/or administrative
action, including initiation of discharge proceedings.
8. Additional guidance is forthcoming. Updates will provide
direction to commands regarding mandatory vaccination documentation
and procedures, and additional detail regarding administrative
measures for unvaccinated personnel to safeguard the workforce and
maintain readiness.
9. POC: S.E. Russell, CVIC Incident Commander,              ,
COVID19@uscg.mil.
10. RADM K. E. Lunday, Acting Deputy Commandant for Mission Support
(DCMS), sends.
11. Internet release is not authorized.




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                                            Case 4:22-cv-00825-P Document 6-1 Filed 09/16/22                                                            Page 62 of 84 PageID 564


                                                                                                                                                                                                                 EXHIBIT 23




                                                                         COVID 19 Military Vaccination Metrics
                                                                                                            Data updated 25 MAY 22

Vaccination                                                                                                                             Unvaccinated Status                           Total          Active          Reserve
                                   Active (40,857) Reserve (6,030)                                        Total (46,887)                Hard Refusal*                                          301             155             146
Status                                                                                                                                  Medical Exempt Permanent                                 4               3               1
Fully                                                                                                                                   Medical Exempt Temporary                                32              30               2
Vaccinated                        39,744               97%              5,623               93%          45,367                97%      RA Received by CG-133                                 1336            1047             289
                                                                                                                                        Pending                                                  2               2               0
Partially                                                                                                                                                                                       45              40               5
                                                                                                                                                 Administrative Exemption
Vaccinated                           178                1%                 36                1%             214                1%               Other                                           39              30               9
                                                                                                                                                                                                 4              4               0
Unvaccinated                         935                2%                371                6%           1,306                2%               RA Total Granted
                                                                                                                                                RA Total Denied                               1246            971              275
Boosted                           12,390                                  960                            13,350                                 Appeal: Submitted                              951            758              193
                                                                                                                                                                                                 5              3               2
Notes                                                                                                                                                       Processing
                                                                                                                                                                                                 1              0               1
Fully Vaccinated                              Direct report from MRRS                                                                                       Hold
                                              Calculated from MRRS                                                                                                                               1              1               0
Unvaccinated                                  = Unvaccinated – Partially Vaccinated
                                                                                                                                                            With Legal
                                              Calculated from MRRS                                                                                          Post-Legal Edits                     3              3               0
Partially Vaccinated                          = members showing 1 dose of a 2 shot series, RA, Admin refusal
                                                                                                                                                            At Decision Authority                5              5               0
                                              = [Unvaccinated – (RA Requested + Medical Temporary + Medical Permanent + Partially
                                              Vaccinated)]
                                                                                                                                                            At Appellant Authority              14             12               2
                                              •      Does not include those overdue for 2nd dose of 2 shot series
                                              •      Includes members who have not submitted any paperwork for exemptions & do not                          Ready for Signature                187            142               45
Hard Refusal                                         have any documented vaccination in MRRS
                                                                                                                                                            Retired/Separated                    9              5               4
RA Received by CG-133                         Sum of In review, Withdrawn, RA Total Granted, RA Total Denied
RA Total Granted                              [Initial response: Granted] + [Appeal: Approved]                                                              Admin Exemption                     43             40               3
RA Appeal in Progress                         Not captured in MRRS. Tracked manually                                                                                                           673            542              131
RA Appeal Approved                            Not captured in MRRS. Tracked manually
                                                                                                                                                            Appeals Signed (Denied)
                                                                                                                                                            Appeals Signed                       4              2               2
Appeal: Denied                                Member status changed to “Hard Refusal.” Not captured in MRRS. Tracked manually
                                                                                                                                        (Approved)
No Appeal Submitted                           Includes BOTH members within and past the 10 day initial decision notification
                                                                                                                                                            Other                                6              3               3
Vaccine Compliance                            Members who decide to receive vaccine after RA denied
                                              Members with retirements/separations prior to 01JAN23, in the Medical Board process, or           Appeals Sent to CMDS                           706            574              132
On hold                                       cadets at USCGA, or missing documentation
                                                                                                                                                No Appeal Submitted**                          198            139               59
If initial Response is denied and member takes no action, after 10 days they are “Admin Refusal”
                                                                                                                                                Appeal Submission Pends                          3              3                0
Members in accession programs (Recruit Training, CGA, OCS, etc.) are still included in this report.
                                                                                                                                                Vaccine Compliance                             128            100               28




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                                                                     EXHIBIT 24




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                                                                   EXHIBIT 25




               Exhibit 8




                                                                       147
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

MICHAEL BAZZREA, et al.,                            )
                                                    )
               Plaintiffs,                          )
                                                    )
                      v.                            )       CA No. 3:22-cv-00265
                                                    )
ALEJANDRO MAYORKAS, et al.,                         )
                                                    )
           Defendants.                              )
_________________________________                   )

                 DECLARATION OF COMMANDER BROOKE GRANT

       I, Commander Brooke Grant, hereby declare and state:

       1.      I am a commissioned officer serving on active duty in the United States Coast

Guard. I have served on active duty in the Coast Guard for over 20 years and am currently serving

as Chief, Military Personnel Policy Development Division (CG-1331). I have served in this

position since August 2021. My prior assignments include Logistics Department Head, United

States Coast Guard Sector Key West; Deputy, Office of Legal Policy and Program Development;

and Staff Attorney, United States Seventh Coast Guard District Legal Office. I am generally aware

of the allegations set forth in the pleadings filed in this matter and make this declaration in my

official capacity, based upon my personal knowledge and upon information that has been provided

to me in the course of my official duties. CG-1331 is the Coast Guard Headquarters office that

originally receives requests for religious accommodation from the COVID-19 vaccination

requirement.

       2.      Exhibit 1, attached to this declaration, provides updated data with respect to the

COVID-19 vaccination requirement. However, certain data elements are either not available or




                                                1
                                                                                              148
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require further explanation.

       3.      Requests for religious accommodation from the COVID-19 vaccination

requirement in the Coast Guard are centrally managed, with the Office of Military Personnel

Policy, CG-133, serving as the final approval authority. Religious accommodation requests are

not tracked until they reach Coast Guard Headquarters. Accordingly, the column labeled “Total

Initial Requests” reflects only the number of religious accommodation requests that have been

received at Headquarters. Most requests for a religious accommodation from the COVID-19

vaccination requirement have been adjudicated.

       4.      In March 2022, the Coast Guard granted an administrative exemption to the

vaccination requirement for all members with an approved separation or retirement date no later

than October 1, 2022. The Coast Guard did not act on any pending religious accommodation

requests or appeals that were submitted by members who qualified for this administrative

exemption.

       5.      Permanent medical exemptions from vaccine requirements are also centrally

managed at Coast Guard Headquarters through the Office of Occupational Medicine, CG-112.

CG-112 does not actively track the number of applications for permanent medical exemptions that

have been submitted or denied. All permanent medical exemptions granted thus far are based on

a documented severe allergic reaction to a COVID-19 vaccine or a component of the vaccine.

       6.      Temporary medical exemptions are processed by medical officers in the field. The

Coast Guard does not maintain a database from which it can determine a complete and accurate

account of all temporary medical exemptions that have been granted. In addition, because the

temporary exemptions expire and are based on medical conditions that could arise during a

reporting period (e.g., a member may be granted a medical exemption if he or she is infected with




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COVID-19 and therefore ineligible to be vaccinated for the duration of the infection and for a

period afterwards), changes in the total number of temporary medical exemptions from one

reporting period to another would not reflect the total number of temporary medical exemptions

that have been granted. For example, during any given period, two temporary medical exemptions

might expire and two new temporary medical exemptions might be granted, but the total number

of temporary medical exemptions would remain the same.

       7.     The Coast Guard has not taken any action to Courts-Martial members that have

refused an order to become vaccinated. The Coast Guard has initiated administrative separations

for enlisted members and board action for officers who have not complied with COVID-19

vaccination requirements.   Of the administrative separations that have been completed, all

members received a discharge with a characterization of honorable.

       8.      I hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct to the best of my knowledge and information.

Dated: August 30, 2022



                                            _______________________
                                            BROOKE GRANT
                                            Commander
                                            U.S. Coast Guard




                                               3
                                                                                            150
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                                     Exhibit 1 to Declaration of CDR Grant
                        U.S. Coast Guard COVID-19 Vaccination Requirement Data
                                           Current as of 29 August 2022
(1) Number of religious exemption from COVID-19 vaccination:


    # Initial Requests Under       # Initial Request               # Initial Requests
                                                                                             Total Initial Requests
              Review                  Approved                           Denied

                1                           5                            1236 1                      1343


                                                                                    Fully Resolved Requests
     # Appeals Under                                   # Appeals               Aggregate # of
                           # Appeals Denied                                                        Aggregate # of
         Review                                        Approved                  Approved
                                                                                                  Denied Requests
                                                                                 Requests
            3                    881 2                    7                         12                 1183


(2) Number of medical-exemption requests from COVID-19 vaccination:

     Temporary Medical              Permanent                 Permanent Medical                Total Permanent
     Exemption Requests          Medical Exemptions           Exemptions Granted              Medical Exemption
                                      Denied                                                      Requests
           Unknown                   Unknown                               8                      Unknown 3


(3) Number of courts-martial and separation proceedings pending or concluded against a service member whose
request for a religious exemption was denied after appeal:

                       Courts-Martial                                  Administrative Separation (ADSEP)
            Pending                      Concluded                  ADSEP Initiated            ADSEP Completed
               0                           N/A                           81                          73




1
  This does not include members who submitted a religious accommodation request but were then granted an
administrative exemption based on an approved separation or retirement date no later than October 1, 2022.
2
  This does not include members who submitted a religious-accommodation appeal but were then granted an
administrative exemption based on an approved separation or retirement date no later than October 1, 2022.
3
  The Coast Guard is not actively tracking requests and continues to process permanent medical exemption requests
when received.




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                                                                     EXHIBIT 26




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                                                                         154
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                                                                         155
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                                                                     EXHIBIT 27




                                                                         157
        Case 4:22-cv-00825-P       Document
              A. This blurb below is            6-1from
                                     cut and pasted   Filed 09/16/22
                                                        the pending email Page  75 of 84
                                                                          to commands of thePageID   577
                                                                                             22 unvaccinated
                members on the June EPAA. In future months, we aim to have this email sent to applicable commands
                prior to the EPAA relea e



                Effective 24 May 2022, enli ted Coa t Guard member who are not in compliance with the COVID 19
                vaccine mandate established in ALCOAST 305/21 and 315/21 are ineligible to advance. This policy only
                applies to unvaccinated enlisted Coast Guard members issued P&D-41D or P&D-41E, as applicable.
                These members are considered “non-compliant.” Commanders, Commanding Officers, and Officers-In-
                Charge hall withhold the advancement of non compliant enli ted member in accordance with the
                provisions of Article 3.A.21.b of Enlistments, Evaluations, and Advancements, COMDTINST M1000.2C.
                Non-compliant members will be allowed to compete for advancement, but their advancement shall be
                withheld until they become compliant with the COVID-19 vaccine mandate. Non-compliant members
                who fail to gain compliance prior to the e piration of the applicable advancement eligibility li t will have to
                re-compete for advancement in the next advancement cycle. If ______Member XX___                   is non-
                compliant, you are directed to withhold their advancement in accordance with the provisions of Article
                3.A.21.b of Enlistments, Evaluations, and Advancements, COMDTINST M1000.2C. This withholding
                applie to frocking authorization or ceremonial advancement Command having already frocked or
                ceremoniously advanced members who are now non-compliant may rescind those frockings or
                ceremonial advancements at their discretion, but are directed to do so no later than the expiration of the
                applicable advancement eligibility list.



2. Do we need to do a disciplinary EER/OER on the member? Unless told otherwise, we intend to initiate disciplinary
evaluation on all member who refu ed order to get vaccinated

                A No Current policy applie The i uing of a 3307 without NJP, even one documenting a COSO, i
                not included in Article 4.C.2 of Enlistments, Evaluations, and Advancements, COMDTINST M1000.2C,
                as a reason to initiate an unscheduled (or discipline) EER. However, commands are authorized per
                Article 4.D.3.i of Enlistments, Evaluations, and Advancements, COMDTINST M1000.2C, to initiate a
                Change of Commanding Officer’ Recommendation EER “for any good and ufficient rea on ” With
                respect to NJP, the ability to NJP members solely for failing to comply with the COVID-19 mandate is
                specifically withheld by para. 7 of ALCOAST 305/21 (“Commanding Officers and leaders shall not
                commence administrative or disciplinary action based solely on a Service member’s decision to decline
                vaccination until uch implementing guidance i promulgated”) Para 5 of ALCOAST 446/21 unwind
                this, just a little. (“Military members whose religious accommodation request has been denied with a
                final action decision, and who refuse to become fully vaccinated against COVID-19, are subject to their
                command accounting for vaccine refusal in the execution of routine administrative functions (e.g.,
                evaluation , advancement and re enli tment recommendation , and other imilar action undertaken in
                the regular course of business”)). However, NJP is not a routine administrative function undertaken in
                the regular course of business; therefore, we are advising commands not to NJP members based solely
                on failing to comply with the COVID-19 mandate.



3. How should we handle future EERs/OERs going forward? Will enlisted members receive an Unsat in conduct on all
future EER , and for officer , hould thi be noted in Block 5 comment until they comply with order to be vaccinated or
otherwise received a medical exemption? Please provide guidance.

                A. Current PSC guidance for EERs is that commands may use all performance, including failing to obey
                a lawful order for the COVID-19 vaccine, as long as that performance (including action and inaction)
                occurred in the marking period. The rating chain retains the authority to mark the member as
                appropriate, to include mark of 1, 2, 3, U, and N Any comment for the e mark mu t be ju tified per
                policy and must NOT include prohibited comments which in this case would be for personal medical
                information. To that end, EER comments should address the “failure to obey a lawful order” or “failure to
                maintain military medical readiness requirements” but should refrain from specifically commenting on
                refu ing a vaccine e plicitly or implicitly



       Before awarding a mark, con ider the following, all mu t have been completed on or before the end of the
marking period:



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                    a. Has all medical      6-1 and
                                       exemption Filed   09/16/22
                                                    religious       Page 76
                                                              accommodation    of 84been
                                                                            requests  PageID   578(i.e. Did
                                                                                         exhausted
                          not seek it out, Did not follow through, or Denied)?

                          b.   Was the member ordered via CG-3307 to be at a time and place to receive the vaccine?

                          c. Did the member not receive the vaccine as ordered and receive a CG-3307 documenting
                          that fact?

                          1    Did the refu al/no how that wa documented in the CG 3307 occur within the marking
                period;

                          or

                               2. Did the member continue to refuse vaccination through the marking period if already in
                               receipt of a CG-3307 from a previous marking period?

                **If a, b, and c are “Yes” and either c1 or c2 is “Yes”, please re-submit removing the prohibited
                comments.

                **If a, b, or c are “No” or both c1 and c2 are “No”, then command engagement will be required and that
                performance will need to be pu hed until the ne t marking period



4 Will member e ecute PCS order ? EPM ha advi ed u that member who refu ed to get vaccinated after denial
of their religious accommodation appeal are not being discharged. Members will be retained until the expiration of their
enlistment at which time they will be ineligible to re-enlist. Until discharge, are these members eligible to execute PCS
orders?

                A. Certain unvaccinated members will execute PCS orders based on the needs of the service. All
                enli ted member eligible for a ignment in AY22 were notified whether they will e ecute PCS order in
                AY22. These members received one of two different orders notes:



                a. “In accordance with ALCGPSC 016/22 and subject to service need, service members who refuse to
                become fully compliant with the COVID-19 vaccine mandate established in ALCOAST 305/21 and
                315/21 are ineligible to execute PCS orders. The execution of these orders was determined not to be for
                the good of the ervice and may not be marked READY to e ecute until the ervice member gain full
                compliance with COVID-19 mandate. Service members must be compliant with the COVID-19 vaccine
                mandate before reenlisting or extending to meet the obligated service requirements contained in these
                orders. Additionally, service members issued CG-3307 PD-41D/E are ineligible to reenlist or extend by
                operation due to the Commi ion of a Seriou Offence IAW the provi ion of Article 1 E 2 e 1 of the
                Enlistments, Evaluations, and Advancements, COMDTINST M1000.2C. These orders will be canceled
                on 01 July 2022 if service members remain non-compliant with the COVID-19 vaccine mandate. Failure
                to comply with the direction in ALCOAST 305/21 or 315/21, may lead to further administrative or
                di ciplinary action, to include involuntary admini trative eparation for the good of the ervice ”

                b “In accordance with ALCGPSC 016/22, you are authorized to e ecute the e PCS order ba ed on
                the needs of the service regardless of your current vaccination status. There are no obligated service
                requirements for the execution of these orders. This authorization does not exempt you from becoming
                compliant with the COVID-19 vaccination mandate established in ALCOASTs 305/21 and 315/21, or the
                ri k mitigation and leader hip mea ure e tabli hed in ALCOAST 352/21 Failure to comply with the
                direction in ALCOAST 305/21 or 315/21, may lead to further administrative or disciplinary action, to
                include involuntary administrative separation from the Coast Guard. Members issued CG-3307 PD-
                41D/E are ineligible to reenlist or extend by operation due to the Commission of a Serious Offense IAW
                the provi ion of Article 1 E 2 e 1 of the Enli tment , Evaluation , and Advancement , COMDTINST
                M1000.2C. This includes reenlistments and Expiration of Enlistment extensions to meet obligated
                service requirements for the execution of PCS orders.”



                Further, some now non-compliant members are in receipt of PCS orders as a result of a pending
                advancement which they are no longer eligible to accept. As there is likely another member and it is
                June eve, tho e order tand



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Very respectfully,             Document 6-1 Filed 09/16/22   Page 77 of 84 PageID 579

CMC AJ Pulkkinen

Personnel Service Center




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                                                                                       EXHIBIT 28
R 021850Z MAY 22 MID600051770801U
FM COMDT COGARD WASHINGTON DC
TO ALCOAST
BT
UNCLAS
ALCOAST 157/22
SSIC 6230
SUBJ: COVID 19: UPDATE TO COVID-19 ADMINISTRATIVE RISK MITIGATION
AND LEADERSHIP MEASURES
A. COMDT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
B. COMDT COGARD WASHINGTON DC 072247Z SEP 21/ALCOAST 315/21
C. COMDT COGARD WASHINGTON DC 261519Z JAN 22/ALCGPSC 016/22
D. COMDT COGARD WASHINGTON DC 271530Z SEP 21/ALCOAST 352/21
E. COMDT COGARD WASHINGTON DC 080148Z OCT 21/ALCGPSC 104/21
1. This ALCOAST authorizes unvaccinated members to attend Coast
Guard facilitated training required for their assignments. The
Coast Guard continues to take actions with respect to unvaccinated
members, with due regard for the health and safety of our entire
workforce and the need to preserve mission readiness.
2. For the purpose of this message, "unvaccinated members" refers to
personnel who have not completed a COVID-19 vaccination regimen.
Per REF (A), members are considered fully vaccinated two weeks after
the last required dose of an FDA approved COVID-19 vaccine, a
COVID-19 vaccine administered under the FDA's Emergency Use
Authorization, or a COVID-19 vaccine on the World Health
Organization Emergency Use Listing.
3. Paragraph 5.A(2) of REF (D) and Paragraph 4.A. of REF (E) are
cancelled. The following requirements apply to all unvaccinated
members, regardless of their assignment year status:
   a. Unvaccinated members are authorized to attend "C" Schools
specifically required for their assignment, as necessary to meet
mission readiness requirements. No other "C" School training is
authorized for unvaccinated members. FORCECOM, in consultation
with the appropriate Program, will determine which schools are
required to meet mission readiness requirements. Unvaccinated
members may not be able to attend some required "C" schools if the
entity providing the training prohibits unvaccinated member
attendance.
   b. Unvaccinated members must not obligate additional service,
except as a result of executing PCS orders.
4. The current status of all FORCECOM Readiness Activities (AIA
Activities, Exercise Support Activities, and Class "A" and "C"
schools) are regularly updated, and can be found on the ETQC Portal
site at:
(Copy and Paste URL Below into Browser)

https://cg.portal.uscg.mil/units/forcecom/ETQC/SitePages/Home.aspx

5. All other portions of REF (C), (D), and (E) not previously
addressed remain in effect.
6. This message will be cancelled on 02 May 2023, if not rescinded
sooner by me, my successor, or a superior officer.
7: FC POC is CAPT Adrian West, Chief of Staff, email:
                      .
8. RADM Eric C. Jones, Deputy for Personnel Readiness (DCMS-DPR),
sends.
9. Internet release is not authorized.




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https://cg.portal.uscg.mil/library/generalmessages/General%20Messages/GENMSG2022/...     8/31/2022
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ALARIC STONE, ERIC JACKSON, and                        )
MICHAEL MARCANELLE, on behalf of                       )
themselves and all others similarly situated,          )
                                                       )       Case No.
                       Plaintiffs,                     )
v.                                                     )
                                                       )
ALEJANDRO N. MAYORKAS, in his official                 )
capacity as Secretary of Homeland Security,            )
LLOYD J. AUSTIN, III, in his                           )
official capacity as Secretary of Defense,             )
LINDA L. FAGAN, in her official                        )
capacity as Commandant of the Coast Guard, and         )
BRIAN K. PENOYER, in his official capacity             )
as Assistant Commandant for Human                      )
Resources of the Coast Guard,                          )
                                                       )
                       Defendants.                     )


       DECLARATION OF BOATSWAIN’S MATE 1ST CLASS PETTY OFFICER
                           ERIC JACKSON

       Pursuant to 28 U.S.C. § 1746, I, Eric Jackson, under penalty of perjury declare as

follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am a non-commissioned officer, a Boatswain’s Mate 1st Class Petty Officer, in

the United States Coast Guard.

       3.      In my current position, I supervise real-time Coast Guard operations for Coast

Guard Station South Padre Island. My duties include coordinating building security and directing

live maritime operations (including interdictions, rescues, and other safety events). I am also

completing my local qualifications to resume performing maritime operations, such as boardings,

interdictions, inspections, live fire training, and piloting boats. My responsibilities will further


                                                   1


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include law enforcement and boarding operations. Additionally, among other duties, I help train

new Coast Guard service members in interdiction operations by piloting “Target of Interest”

boats. In this role, I use my years of experience in often hostile interdictions to simulate evasive

maneuvers I have seen throughout my career, and pass down that vital knowledge to the next

generation of Coast Guard service members.

       4.      I have served in active service with the Coast Guard for more than 18 years.

       5.      The military has rewarded me with numerous medals for my service, including

the Coast Guard Special Operations Service Ribbon just this year. I earned this award by serving

with a rapid-response interdiction team uniquely trained to intercept human smugglers off the

coast of California. My team and I halted many smuggling boats, often loaded with over twenty

migrants. We apprehended the captains and transferred migrants to Customs and Border Patrol.

Should I be allowed to complete my local qualifications, I would likely resume using my many

years of experience in performing similar operations.

       6.      Before I joined the Coast Guard, my home was in the Northern District of District

of Texas (Arlington, Texas).

       7.      I joined the Coast Guard in 2004. From approximately 2004 to 2006, the Coast

Guard assigned me to a duty station in Hawaii. From approximately 2006 to 2010, the Coast

Guard assigned me to a duty station in New Jersey. From approximately 2010 to 2018, the Coast

Guard assigned me to a duty station in Louisiana. From approximately 2018 to June 2022, the

Coast Guard assigned me to a duty station in California. In July 2022, the Coast Guard assigned

me to a duty station on South Padre Island, Texas. I have never considered any of those duty

stations to be my permanent home.




                                                  2


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          8.    My last move, to South Padre Island in July 2022, occurred despite a Coast Guard

policy that I understand prohibits such transfers for unvaccinated personnel. I did not expect a

transfer due to this policy. However, I was told that the policy was waived for my case due to the

needs of the Coast Guard. I was forced to move my family from California to Texas on short

notice.

          9.    Since my transfer required a waiver and only occurred due to the Coast Guard’s

needs, and since a transfer typically incurs a service commitment, I was led to believe that I

could continue serving with the Coast Guard until my current enlistment expired.

          10.   My Coast Guard “home of record” is, and always has been, in the Northern

District of Texas.

          11.   When I have voted in the past, I have voted as a resident of the Northern District

of Texas. I have never voted as a resident of anywhere else. I intend to vote as a resident of the

Northern District of Texas in the future.

          12.   Throughout my career in the Coast Guard, I have always considered myself a

Texas resident for purposes of any state income tax requirements, because Texas does not have

an income tax I have not paid state income tax, and I have never filed a state income tax return

for any other state or paid state income tax to any other state.

          13.   I plan to reside in the Northern District of Texas when I retire or am separated

from the Coast Guard. I have close family in the Northern District of Texas (and close family has

lived there all my life), my mother told me that I am her sole intended heir, she owns a house and

acreage in the Northern District of Texas (Weatherford, Texas), and I plan to reside at that

property with my family upon retirement or separation whenever that may occur.




                                                  3


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        14.      When I have been on leave from Coast Guard service, I have often stayed with

my family at that property in the Northern District of Texas. I have some personal property at

that location.

        15.      I consider my residence to be in the Northern District of Texas.

        16.      I have lived in other places during my Coast Guard career as stated above but I

did so as part of my duty assignment. I have never considered my residence to be anywhere but

in the Northern District of Texas.

        17.      In approximately April of 2020, I experienced some COVID-19-type symptoms

and believed and continue to believe I had COVID-19 at that time. Having fully recovered from

what I believe was COVID-19 and thus having natural immunity, I believe I am at less risk of

becoming infected again than my fellow vaccinated coworkers and pose less risk to mission

accomplishment no matter where I am assigned.

        18.      I base this belief on my experiences remaining free from COVID-19 over the past

two and a half years since acquiring natural immunity, despite many very close contacts with

people who were actively sick with COVID-19.

        19.      For instance, during my time performing the mission for which I earned a Coast

Guard Special Operations Ribbon, I was frequently in close contact with many ill and

unvaccinated migrants, and never became ill myself.

        20.      As another example, while aboard the BENJAMIN BOTTOMS, I slept in close

quarters with three fully vaccinated personnel. During one tour, all three became ill; however, I

remained completely healthy with no COVID-19 symptoms and negative tests throughout the

duration of their illness.




                                                  4


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       21.     As yet another example, my unit held a morale event at a San Diego Padres game

this past summer. After the game, and after a full day working closely alongside my fully

vaccinated and boosted commander, I learned that my commander was sick with COVID-19, and

believed he caught it while out in the public during our unit morale event. Due to his illness, our

mission was delayed. Despite this very close contact, I did not become ill, and had three negative

tests during the delay.

       22.     Based on publicly available information presented by the Coast Guard, I

understand that the Coast Guard has granted at least eight permanent medical accommodation

and 45 temporary medical accommodations.

       23.     Based on publicly available information presented by the Coast Guard, I

understand that at least approximately 98% of active-duty Coast Guard service members have

received COVID-19 vaccinations.

       24.     I do not understand how temporary continued mitigation efforts for approximately

2% of the Coast Guard would significantly impact mission readiness, especially because, for

example: the Coast Guard readily accommodates those granted medical accommodations when

100% of the Coast Guard has been operating under the same parameters for many months; the

CDC’s COVID-19 prevention recommendations do not distinguish between vaccinated and

unvaccinated persons; the physical fitness of military service members as a group is well above

average; and I understand the court injunctions against enforcement of the COVID-19 mandate

in other branches (including the Navy, Air Force, and Marines) have not negatively impacted

mission readiness and in fact have positively impacted mission readiness because religious

service members in those branches can serve.




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           25.   I am a member of the Christian faith. I understand that vaccinations are a

condition of military service and am not opposed to vaccines in principle. However, in

accordance with my faith, it is my sincerely held religious belief that abortion is a grave evil and

that use of vaccines that cooperate in that evil by incorporating the cell lines of aborted children

in their development or testing is not morally justified except in extraordinary circumstances not

present here.

           26.   I understand that all COVID-19 vaccines currently authorized for use in the

United States utilized fetal cell lines in their production or testing. I understand that those fetal

cell lines are descended from fetal tissue taken from elective abortions of unborn children.

           27.   Because all COVID-19 vaccines authorized for use in the United States utilized

fetal cell lines in their production or testing, and the fetal cell lines are descended from fetal

tissue taken from elective abortions of unborn children, use of the vaccines would constitute

cooperation in the evil of abortion. Such cooperation with evil would violate my sincere religious

beliefs.

           28.   On November 7, 2021, I submitted a request for religious accommodation to the

requirement that I take the COVID-19 vaccination. (Exhibit 1, attached). My request for

religious accommodation was accompanied by an endorsement, dated the same day, from my

commander, Lieutenant Commander David Zwirblis, who stated that our ship “will be able to

maintain mission readiness with no hindrance to operations if BM1 Jackson is granted a religious

accommodation.” (Ex. 2, attached.)

           29.   I received a denial dated December 14, 2021 (Ex. 3, attached) of my November 7,

2021, request for religious accommodation.




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